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          ORAL ARGUMENT SCHEDULES FOR MARCH 20, 2023
                      Appeal No. 22-7063

                   UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT

AMERICAN SOCIETY FOR TESTING AND MATERIALS; NATIONAL FIRE
PROTECTION ASSOCIATION, INC.; AMERICAN SOCIETY OF HEATING,
   REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC.
                                          Plaintiffs-Appellants,
                            V.

                         PUBLIC.RESOURCE.ORG, INC.
                                                              Defendant-Appellee.

    APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF COLUMBIA
           Hon. Tanya S. Chutkan, Case No. 1:13-cv-1215-TSC


    BRIEF OF AMERICAN FEDERATION OF STATE, COUNTY AND
    MUNICIPAL EMPLOYEES AS AMICUS CURIAE IN SUPPORT OF
           DEFENDANT-APPELLEE AND AFFIRMANCE


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                                 Employees

                                  February 2, 2023
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CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

Pursuant to D.C. Circuit Rule 28(a)(1), Amicus Curiae certifies as follows:

      A. Parties and Amici

      Except for the following, all parties, intervenors, and amici appearing before

the district court and this court are listed in the BRIEF OF APPELLEE

PUBLIC.RESOURCE.ORG, INC:

          • Prime Access Consulting, Inc.

          • Raymond A. Mosley and Robert C. Tapella

      B. Rulings Under Review

      The rulings under review are as follows:

          • Order, Dkt. 240 (Chutkan, J.), filed on March 31, 2022, by the U.S.

             District Court for the District of Columbia in No. 13- cv-1215, for

             which no reported citation exists; and

          • Memorandum Opinion, Dkt. 239 (Chutkan, J.), and the Appendix

             thereto, Dkt. 239-1 (Chutkan, J.), filed on March 31, 2022, by the U.S.

             District Court for the District of Columbia in No. 13- cv-1215, available

             at 2022 WL 971735.

      C. Related Cases

      This case was previously before this Court in No. 17-7035, American Society

for Testing, et al. v. Public.Resource.Org, Inc.


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     Counsel are not aware of any other related cases before this Court.




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                CORPORATE DISCLOSURE STATEMENT

      Pursuant to D.C. Circuit Rules 26.1 and 28(a)(1), Amicus Curiae American

Federation of State, County and Municipal Employees (the “Union”) submits the

following:

      The Union is an unincorporated membership association. No publicly held

corporation owns 10 percent or more of the Union’s stock.




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            DISCLOSURE OF RELATIONSHIPS WITH PARTIES AND

                                    COUNSEL

      Pursuant to Federal Rule of Appellate Procedure 29(c)(5), no counsel for a

party authored this brief in whole or in part, and no counsel or party made a monetary

contribution intended to fund the preparation or submission of the brief. No person

or entity, other than amicus, its members, or its counsel, made a monetary

contribution to the preparation or submission of this brief.




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access/publications/1/2003 (last visited Nov. 21, 2022)………………………….12

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standards/all-codes-and-standards/list-of-codes-and-
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27, 2022, 2:32 PM), https://www.districtcouncil20.org/council-
20/news/philadelphia-museum-art-workers-begin-strike-over-unfair-labor-
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                     GLOSSARY OF ABBREVIATIONS

 AFSCME       American Federation of State, County and Municipal Employees
 ASHRAE       American Society of Heating, Refrigerating and Air Conditioning
              Engineers (the acronym appears in the title of the organization’s
              documents)
 ASME         American Society of Mechanical Engineers
 ASTM         American Society for Testing and Materials (the acronym also
              appears in the title of the organization’s documents)
 NFPA         National Fire Protection Association (the acronym appears in the
              title of the organization’s documents)




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                        INTEREST OF AMICUS CURIAE

      Amicus curiae is the American Federation of State, County and Municipal

Employees (the “Union”), a labor organization representing the interests of

government workers at many levels of government. The Union counts among its

members museum workers, Kathleen Cancio, Philadelphia Museum of Art Workers

Begin Strike Over Unfair Labor Practices for Better Wages, Benefits, AFSCME

District     Council        20       (Sept.      27,        2022,          2:32     PM),

https://www.districtcouncil20.org/council-20/news/philadelphia-museum-art-

workers-begin-strike-over-unfair-labor-practices-better, university employees, We

Make UMD Happen, AFSCME Local 1072, https://www.afscme1072.org/ (last

visited Nov. 21, 2022), environmental stewards, Brief of Amici Curiae Law

Professors Nina Mendelson, Alan Morrison, Anne Joseph O’Connell, and Peter

Strauss in Support of Respondent, Georgia v. Public.Resource.Org. Inc., 590 US _,

17 (2020) (No. 18-1150), corrections officers, emergency services providers,

healthcare workers, and public works providers, Jobs We Do, AFSCME,

https://www.afscme.org/about/jobs-we-do (last visited Nov. 21, 2022). Union

members “maintain our roads, care for the sick and elderly, make our schools good

places to learn, keep our communities safe, and much more… [E]very member does

the important work of our cities and towns, counties and states, schools, correctional,




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health and public facilities that our communities depend on.” Jobs We Do,

AFSCME.

      The Union has a strong interest in this case as many of its members’ jobs

require or benefit from access to the information contained in the incorporated

standards at issue, and, as an amicus curiae representing the interests of a union,

amicus curiae writes from a workers’ rights perspective. Access to incorporated

standards by Union members is necessary to debate, advocate for, and negotiate with

management about safety standards and to understand their legal duties.

Additionally, the Union takes a strong interest in ensuring quality public service for

all, Our Priorities, Our Issues, AFSCME, https://afscme.org/priorities/issues (last

visited Nov. 21, 2022), which requires ready access by both the Union and its

members to those standards which have been incorporated into law.




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            INTRODUCTION AND SUMMARY OF ARGUMENT

      Union members’ lives depend on the safety of their workplaces and the safety

of their workplaces depends on compliance with adequate standards incorporated

into law. In addition, many Union members hold jobs whose duties are governed by

codes and laws containing incorporated standards. Members depend on unhindered

access, independent from management, to incorporated standards to debate and

advocate for appropriate safety standards, to negotiate for compliance with safety

standards, and to be informed of their duties under law.

      Currently, standards development organizations impose barriers to complete

access to the incorporated standards that govern workers’ safety and jobs. For

example, a copy of NFPA 70 (2008) (“the National Electrical Code”) costs at least

$145.50.    Buy    NFPA     70    (2008),    National      Electric    Code,   NFPA,

https://catalog.nfpa.org/NFPA-70-National-Electrical-Code-NEC-Softbound-

P1194.aspx?icid=D729 (last visited Dec. 1, 2022). Union members must either

depend on management to provide them with access or pay the cost set by NFPA. In

some cases, management may not have access to the standards themselves, even if

they want to share them with their workers. With limited available funds,

government employers are faced with a question of priority: should the safety budget

be spent on new safety goggles or on access to the law? Union members have an

interest in ensuring that funds are not diverted from safety equipment, worker



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compensation, and public improvement projects in order to pay for something that

should be free for all.

        The “reading rooms” established by some standards development

organizations in recognition of the barriers their prices impose do not provide

adequate access to incorporated standards for Union members. The provided reading

rooms     are   read-only,    non-printable,   and    non-downloadable.      JA09268

(Memorandum Opinion 4). Rarely are accessibility features for disabled workers,

copy-and-paste for translation purposes, or efficiency features such as search or

hyperlinks offered. Brief of Appellee at 9, ASTM v. Public.Resource.Org, No. 22-

7063 (D.C. Cir. Nov. 15, 2022); see generally NFPA 70 (2008) Reading Room,

NFPA, https://link.nfpa.org/free-access/publications/70/2008 (last visited Nov. 21,

2022). For many workers, the reading rooms are neither practical nor provide the

access they need.

        For these reasons, this Court should affirm the district court’s holding

allowing the Defendant to fairly “copy, reproduce, or distribute in their entirety” 184

of the incorporated standards and uphold the right of the Union’s members to access

standards required to ensure their safety and perform their jobs. JA09300

(Memorandum Opinion 36). The decision of the district court should be affirmed.




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                                        ARGUMENT

  I.   THE UNION AND ITS MEMBERS REQUIRE UNHINDERED
       ACCESS TO INCORPORATED STANDARDS TO ADVOCATE AND
       NEGOTIATE FOR SAFE WORKING CONDITIONS.

       As this Court has recognized, “distributing [] standards [incorporated into

law] to facilitate public debate” as a general matter “qualifie[s] as a use that

further[s] the purpose of the fair use defense.” Am. Soc’y for Testing & Materials v.

Public.Resource.Org, Inc., 896 F.3d 437, 449 (D.C. Cir. 2018). Union members have

a particular interest in this public debate. Independent, unhindered access to

incorporated standards allows the Union and its members to engage in debate over

the standards that govern their working conditions and to advocate and negotiate for

safe working conditions that comply with the law.

       Incorporated standards address many workplace safety requirements

including    fire   exits,    NFPA      1,       100   (2003),   INTERNET      ARCHIVE,

https://archive.org/details/gov.law.nfpa.1.2003/Errata%20-%20nfpa.Errata1-03-1/

(last visited Nov. 21, 2022), sprinkler systems, id. at 61, and electrical wiring, id. at

51, all of which are addressed in the National Fire Protection Association’s (NFPA)

standard NFPA 1 (the “Fire Code”). The Fire Code has been adopted in nineteen

states, governing the buildings in which many Union members work. Information

Sheet on NFPA 1, NFPA, https://www.nfpa.org/codes-and-standards/all-codes-and-

standards/list-of-codes-and-standards/detail?code=1&tab=research           (last   visited



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Dec. 1, 2022). For example, the State of Florida incorporated the entirety of the 2003

version of the Fire Code into the Florida Administrative Code Register 69A-3.012

(2005). JA09316 (District Court Appendix ¶5). Chapter 10 of the Fire Code lays out

the fundamental requirements for general fire safety, NFPA 1, 46 (2003), including

occupancy, id. at 47, fire drills, id., emergency plans, id. at 48, and smoking. Id.

Additionally, chapter 14 covers “[m]eans of [e]gress.” Id. at 93-106. The Fire Code

incorporates more than 130 other NFPA codes and standards including NFPA 101

(2003) (the “Life Safety Code”), another standard integral to workplace safety. Id.

at 21, 46. The Life Safety Code contains “strategies to protect people based on

building construction, protection, and occupancy features that minimize the effects

of fire and related hazards.”         NFPA 101, Life Safety Code, NFPA,

https://www.nfpa.org/codes-and-standards/all-codes-and-standards/list-of-codes-

and-standards/detail?code=101 (last visited Nov. 21, 2022).

      These incorporated fire-related standards directly affect the safety of Union

members. The Florida statute applies to “all new, existing, and proposed state-owned

and state-leased buildings” and “all new, existing, and proposed hospitals, nursing

homes, assisted living facilities, adult family-care homes, correctional facilities,

[and] public schools,” FLA. STAT. § 633.022(1)(a)-(b) (2005), in which Union

members, such as nurses, correctional officers, and public administrators work. Jobs

We Do, AFSCME.



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      Union members working in these facilities should be able to access the

incorporated standards unhindered and independently so they are fully informed, can

engage in discussions about the adequacy of standards, and can hold their managers

accountable for their workplace safety. When Public.Resource.Org presents the

NFPA standards as a public archive, available online and without a paywall, it

provides the Union and its members with the ability to participate in the discourse

necessary to ensure safe working conditions. Without that archive, Union members

would be left to either purchase the Fire Code for $156, Buy NFPA 1 (2003), Fire

Code, NFPA https://catalog.nfpa.org/NFPA-1-Fire-Code-P1593.aspx?icid=D729

(last visited Nov. 21, 2022), subscribe to the digital version for $9.99 per month,

NFPA LiNK Plan Selection, NFPA, https://link.nfpa.org/sign-up/plans?icid=W575

(last visited Nov. 21, 2022), find the read-only, non-printable, non-downloadable

format on the NFPA website, Brief of Appellee at 9, ASTM v. Public.Resource.Org,

No. 22-7063, search libraries, or travel to Tallahassee, FLA. ADMIN. CODE R. 69A-

3.012, 4 (2005), or Washington D.C. to access the hard copies in person, Brief of

Appellee at 9, ASTM v. Public.Resource.Org, No. 22-7063. A PDF of the Life

Safety Code costs $162.50 and is similarly difficult to find elsewhere. Buy NFPA

101 (2003), Life Safety Code, NFPA, https://catalog.nfpa.org/NFPA-101-Life-

Safety-Code-P1220.aspx?icid=D729 (last visited Nov. 21, 2022).




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       Standards incorporated into Florida’s Administrative Code are but one

example. Other versions of the standards discussed in this brief and addressed in the

district court’s memorandum opinion are incorporated into the Occupational Safety

and Health Act (OSHA), including NFPA 30 (1969) (the Flammable and

Combustible Liquids Code), JA09323 (District Court Appendix ¶13), and the 1970

and 2009 versions of the Life Safety Code, JA09332–JA09334 (District Court

Appendix ¶24, 25, 26). 29 C.F.R. § 1910.6. If workers wish to file a safety complaint

with OSHA to advocate for safe working conditions and ensure that management is

complying with the standards incorporated into the law, they must know what the

safety standards require. 29 U.S.C. § 658(c).

 II.   THE UNION AND ITS MEMBERS REQUIRE UNHINDERED
       ACCESS TO INCORPORATED STANDARDS TO PERFORM THEIR
       DUTIES.

       This Court has acknowledged the “serious constitutional concern with

permitting private ownership of standards essential to understanding legal

obligations.” 896 F.3d at 447. Union members have jobs whose duties serving the

public are governed by incorporated standards. For example, states incorporate

standards developed by these private organizations to ensure buildings are built to

protect the safety of their occupants. As the NFPA itself described, Rhode Island

incorporated numerous NFPA standards after a nightclub fire that claimed 100 lives

in 2004 to ensure that nothing like that would ever happen again. The Station



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Nightclub      Fire,    NFPA,       https://www.nfpa.org/Public-Education/Staying-

safe/Safety-in-living-and-entertainment-spaces/Nightclubs-assembly-

occupancies/The-Station-nightclub-fire (last visited Dec. 1, 2022). Management

may or may not purchase access to the incorporated standards, but in either case

Union members should be able to read the standards for themselves. Union members

are the people installing the electricity and building our public buildings. Without

access to NFPA standards, workers could unwittingly construct unsafe buildings,

install faulty wiring, or handle hazardous materials incompetently. Lack of access to

these standards affects not only the quality that the workers are able to produce but

also the safety of the buildings that they build.

      For example, NFPA 70 (the “National Electrical Code”) was incorporated in

full into Rhode Island State Regulation SBC-5-2008, the “2008 Building Code,”

making the entirety of the National Electrical Code necessary for compliance.

JA09328–JA09329 (District Court Appendix ¶19). The National Electrical Code

contains requirements for how to install the most common electrical wiring to ensure

property and persons are safe from the “hazards arising from the use of electricity,”

most notably fires and electrocution. NFPA 70, 21 (2008), INTERNET ARCHIVE,

https://archive.org/details/gov.law.nfpa.nec.2005/Errata%20-%20nfpa.Errata70-

05-1/ (last visited Nov. 22, 2022). Therefore, any Union member in Rhode Island

whose job involves the construction or inspection of buildings needs to access the



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entirety of the National Electrical Code to ensure that they are performing their work

in compliance with the law.

      Without free access to such incorporated standards, a Union member must

sacrifice either money or convenience. PDFs for the National Electrical Code cost

between $145.50 and $283.50. See Buy NFPA 70 (2008), National Electric Code,

NFPA. An NFPA LiNK subscription, which would provide digital-only access to

NFPA standards, costs $9.99 per month for an individual, the cheapest of the

subscription options. NFPA LiNK Plan Selection, NFPA. Even $10 a month is too

much to spend on access to the law. Free access to the National Electrical Code can

be gained through NFPA’s free reading room; however, as detailed below, it lacks

the functionality features necessary for full access. The success of the work done by

Union members should not hinge on whether they have the resources to gain access

to the law that governs their jobs serving the public.

III. THE LIMITATIONS PLACED ON ACCESS TO STANDARDS IN
READING ROOMS HINDER THE ABILITY OF UNION MEMBERS TO
DISCOVER AND DEBATE THOSE STANDARDS.

      Without     the   posting    of   standards    by    organizations     such    as

Public.Resource.Org, Union members may try to gain free access through the free

alternative provided by the standard setting bodies: hard-to-use reading rooms.

However, access through reading rooms is not adequate to allow discourse about

safety standards or to enable Union members to comprehend their duties.



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      Some standards development organizations provide reading rooms to the

public where their standards can be accessed. However, these reading rooms are of

limited utility in practice. Even when publicly available, reading rooms lack crucial

accessibility features and prevent the access required by members of the Union. In

addition to the limitations to the reading rooms cited in Public.Resource.Org’s brief,

Brief of Appellee at 10, ASTM v. Public.Resource.Org, No. 22-7063, reading room

access does not allow for using accessibility features for people who are print-

disabled or for copy/paste to facilitate translation, while Public.Resource.Org’s

versions does, JA09268 (Memorandum Opinion 4). With regard to NFPA standards,

to obtain access to aids that make the standards fully accessible, such as search

functions, bookmarking features or application examples, a user must pay for an

NFPA LiNK subscription. NFPA LiNK Plan Selection, NFPA.

      Additionally, the NFPA reading room can be difficult to navigate. For

example, the National Electrical Code references standards from a multitude of

standards development organizations, NFPA 70, 686-688 (2008), whose codes are

referenced by their numerical names. All the incorporated codes are in one place in

“Annex A: Product Safety Standards.” Id. However, these codes are not hyperlinked

internally to refer back to the sections they are referenced in or externally to the

standards themselves; a searcher must comb through the entire document to relate

the standard back to its context. Id.



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       Furthermore, the entirety of each NFPA standard is not available. For

example, the reading room version of the Fire Code contains twenty-three chapters

marked reserved, making them inaccessible. Free Access to NFPA 1 (2003),

https://link.nfpa.org/free-access/publications/1/2003 (last visited Nov. 21, 2022).

Thus, while standards development organizations’ reading rooms are hypothetically

available, they are not truly accessible. In practice, these reading rooms are hard to

navigate and contain no features for translation, limiting their usability by Union

members.

       Even the standards development organizations themselves recognize that

access to their standards through reading rooms is not always adequate. During the

COVID-19 pandemic, the American Society for Testing and Materials (ASTM),

recognized the increased need for access to their standards and made them more

available. ASTM Response to COVID-19, ASTM, https://amcoe.org/covid-19/ (last

visited Nov. 21, 2022). ASTM created a COVID-19 specific reading room where

they provided all the relevant standards, including those for masks, ventilators,

gowns, and gloves free of charge and grouped together for the most convenience.

ASTM     Standards    &    COVID-19,      ASTM,      https://www.astm.org/products-

services/standards-and-publications/covid-19.html (last visited Nov. 21, 2022).

Nonetheless, even the standards provided through the COVID-19 reading rooms are

read-only, barring any printing, downloading, or copy-pasting that would increase



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the shareability of these standards during a time of international emergency. While

union members who work in healthcare or home care, Jobs We Do, AFSCME, and

are affected by these standards that govern the personal protective equipment they

use daily may have benefitted from the limited extra transparency, a single entity

should not have control over how the law is disseminated.

                                 CONCLUSION

      For the foregoing reasons, the judgment of the district court should be

affirmed.

                                Respectfully submitted,

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      I certify that on February 2, 2023, I electronically filed the foregoing BRIEF

OF AMERICAN FEDERATION OF STATE, COUNTY AND MUNICIPAL

EMPLOYEES AS AMICUS CURIAE IN SUPPORT OF DEFENDANT-

APPELLEE AND AFFIRMANCE with the United States Court of Appeals for the

District of Columbia Circuit through the Court’s CM/ECF system, which will serve

all counsel who are registered CM/ECF users. I certify that all counsel in this case

are registered CM/ECF users.

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